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                                INFORMATION SHEET

DEFENDANT: DANIEL STONEBARGER

YEAR OF BIRTH: 1972

ADDRESS: Highlands Ranch, CO

COMPLAINT FILED?              YES       X    NO

       IF YES, PROVIDE MAGISTRATE CASE NUMBER:

HAS DEFENDANT BEEN ARRESTED ON COMPLAINT?                       YES        X     NO

OFFENSES:            Count 1: 18 U.S.C. ' 1343, Wire Fraud

LOCATION OF OFFENSE: Highlands Ranch, Colorado

PENALTY:             Count 1: Imprisonment of NMT 20 years, a fine of NMT $250,000 or
                     NMT the greater of twice the gross pecuniary gain or twice the
                     gross pecuniary loss resulting from the offense, or both fine and
                     imprisonment; $100 special assessment; a term of supervised
                     release NMT 3 years; restitution and forfeiture.

AGENT:               John Maglosky
                     Federal Bureau of Investigation

                     Daniel MacDougall
                     United States Secret Service

AUTHORIZED BY: Martha A. Paluch
               Sarah H. Weiss
               Assistant U.S. Attorneys

ESTIMATED TIME OF TRIAL:

  X    five days or less

 __ over five days

      other

THE GOVERNMENT will not seek detention in this case.

OCDETF case: NO
